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                       IN THE STATE COURT OF DEKALB COUNTY
                                 STATE OF GEORGIA

CHRISTOPHER O. JEFFERSON, SR.,       )
                                     )
      Plaintiff,                     )               CIVIL ACTION
v.                                   )                         22A00339
                                     )               FILE NO. __________________
FEDEX FREIGHT, INC. d/b/a            )
FEDEX FREIGHT,                       )
                                     )
      Defendant.                     )
_____________________________________)

                                         COMPLAINT

        COMES NOW Plaintiff Christopher O. Jefferson, Sr., and files his Complaint against

Defendant FedEx Freight, Inc. d/b/a FedEx Freight, and shows this Honorable Court as follows:

                         PARTIES, JURISDICTION, AND VENUE

                                                1.

       Plaintiff Christopher O. Jefferson, Sr., is a resident of Fulton County, Georgia.

                                                2.

       Defendant FedEx Freight, Inc. d/b/a FedEx Freight (“Defendant FedEx”) is a foreign

corporation organized under the laws of Arkansas. Defendant FedEx’s principal office address is

8285 Tournament Drive, Building C, Memphis, Tennessee 38125. Service of process may be

perfected upon Defendant FedEx through its registered agent, The Corporation Company (FL), at

the following address: 106 Colony Park Drive, Suite 800-B, Cumming, Georgia 30040-2794.

Defendant FedEx is subject to the venue and jurisdiction of the Court.

                                                3.

       Venue is proper in DeKalb County pursuant to O.C.G.A. § 40-1-117(b).




                                                                                              STATE COURT OF

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                                         ALLEGATIONS

                                                  4.

       On or about April 16, 2021, Plaintiff was operating a 2008 Dodge Ram eastbound on I-285

near the exit for Flat Shoals Parkway in DeKalb County, Georgia. While exercising reasonable care

for his own safety, Plaintiff’s vehicle was struck by other vehicles, disabling Plaintiff’s vehicle and

causing it to be stopped on the roadway.

                                                  5.

       Prior to and on April 16, 2021, Freddie Miles, an agent or employee of Defendant FedEx,

operated 2016 Freightliner truck, V.I.N. 1FUBGEDV5GLHC5746, that was owned and/or

controlled by Defendant FedEx for use on public highways.

                                                  6.

       Prior to and on April 16, 2021, Defendant FedEx failed to exercise reasonable care for the

safety of others who might be affected by its actions and allowed the negligent operation of the

above-mentioned 2016 Freightliner truck while the truck and its driver were in violation of legally

mandated minimum safety requirements and violated multiple Federal laws, Georgia laws, and rules

of the road, and, on April 16, 2021, said violations caused a collision between Plaintiff’s vehicle and

Defendant FedEx’s truck and proximately caused serious injuries to Plaintiff.

                                                  7.

       On the above-mentioned date and time, Freddie Miles, an employee or agent of Defendant

FedEx, was operating the above-mentioned 2016 Freightliner eastbound on I-285 in DeKalb County.

Freddie Miles was operating said truck in violation of multiple Federal laws, Georgia laws, and rules

of the road, including, but not limited to, failing to keep a proper lookout, failing to exercise



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reasonable care, and following too closely and, as a result, caused a collision between said truck and

Plaintiff’s vehicle, proximately causing serious injuries to Plaintiff.

                                                  8.

        At all times relevant hereto, Defendant FedEx was negligently supervising the operation of

its 2016 Freightliner, which resulted in the above-described collision and proximately caused serious

injuries to Plaintiff.

                                                  9.

        Defendant FedEx is liable under the doctrine of respondeat superior for the harm caused to

Plaintiff by the wrongful acts of its employee, Freddie Miles, who was acting in the scope and

course of his employment with Defendant FedEx and during the actual transaction of Defendant

FedEx’s business when he caused the subject collision, proximately causing Plaintiff to suffer

injuries, general damages, and special damages.

                                                 10.

        Defendant FedEx is liable to Plaintiff because it negligently entrusted its vehicle to Freddie

Miles even though he was not properly suited to drive the vehicle, proximately causing injuries to

Plaintiff, and because Defendant FedEx failed to properly hire, train, retain, and supervise its

employees so that they would not cause harm to persons such as Plaintiff, proximately causing

injuries and damages to Plaintiff.

                                                 11.

        Defendant FedEx is negligent per se because (1) its acts and/or the acts of its employees were

in violation of Federal laws and Georgia laws regarding the use and operation of motor vehicles and

commercial motor vehicles, (2) the laws were designed to prevent the type of collision and injuries



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involved in the subject litigation, (3) Plaintiff is a member of the class intended to be protected by

said laws, and (4) the violation of said laws proximately caused Plaintiff’s injuries.

                                                  12.

         Defendant FedEx knew or should have known that operating its truck on an interstate while

its driver was not properly suited to operate it would result in harm to the individuals who would

be affected by the operation of said truck.

                                                  13.

         Defendant FedEx knew or should have known that its failure to properly hire, train, retain,

and supervise its employees so that they would not cause harm to persons such as Plaintiff would

result in harm to individuals who would be affected by said employees, yet Defendant FedEx still

failed to properly hire, train, retain, and supervise its employees, including, but not limited to,

Freddie Miles.

                                                  14.

         At all times relevant hereto, Defendant FedEx was operating the subject truck as a motor

carrier pursuant to O.C.G.A. § 40-1-50 et seq. and other applicable laws.

                                              DAMAGES

                                                  15.

         As a result of FedEx’s negligence and negligence per se, Plaintiff sustained personal injuries,

special damages, and general damages for which he is entitled to be compensated by Defendant

FedEx.




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                                                 16.

         As a direct and proximate result of Defendant FedEx’s negligence and negligence per se,

Plaintiff has incurred medical expenses in excess of $98,571.00, the exact amount to be proven at

trial.

                                                 17.

         As a direct and proximate result of Defendant FedEx’s negligence and negligence per se,

Plaintiff has incurred lost wages in excess of $10,000.00, the exact amount to be proven at trial.

                                                 18.

         As a result of said injuries, Plaintiff has sustained permanent impairment, permanent

disability, and permanent disfigurement.

                                                 19.

         As a direct and proximate result of Defendant FedEx’s negligence and negligence per se,

Plaintiff will continue to suffer both general and special damages in the future, including expenses

for future medical treatment, the exact amount to be proven at trial.

                                                 20.

         Defendant FedEx has acted in bad faith, has been stubbornly litigious, and has caused

Plaintiff unnecessary trouble and expense by forcing Plaintiff to resort to the use of the court system

in order to resolve his claim when there is no bona fide controversy. Accordingly, Plaintiff seeks

attorney’s fees and expenses of litigation pursuant to O.C.G.A. § 13-6-11.

         Wherefore, Plaintiff prays that:

         (a)    Summons and Complaint be served upon Defendant FedEx according to the law;

         (b)    Plaintiff recover from Defendant FedEx a sum of damages to compensate him for his



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             injuries and damages, including, but not limited to, his medical expenses (past and

             future), lost wages (past and future), and pain and suffering (past, present, and

             future);

      (c)    Plaintiff recover from Defendant a sum of damages to compensate him for attorney’s

             fees and costs of litigation pursuant to O.C.G.A. § 13-6-11;

      (d)    Plaintiff be awarded prejudgment interest on his damages as allowed by law;

      (e)    Interest on the judgment be awarded at the legal rate from the date of judgment;

      (f)    All costs of this action be taxed against Defendant; and

      (g)    Plaintiff have any and all other relief the Court may deem just and proper.

                               DEMAND FOR JURY TRIAL

      Plaintiff hereby demands a jury trial for each claim for which he has a right to a jury.


      This 27th day of January, 2022.

                                                            Respectfully submitted,



                                                            /s/ Ben C. Brodhead
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